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                                                           U.S. Department of Justice

                                                           Office of the United States Trustee
                                                           Eastern District of New York
                                                           Brooklyn Division

                                                           201 Varick Street, Suite 1006
                                                           New York, NY 10014
                                                           Telephone Number: 212.510.0500

                                                           May 9, 2018

Filed Via ECF
Chambers of the Honorable Nancy Hershey Lord
United States Bankruptcy Judge
United States Bankruptcy Court EDNY
271 Cadman Plaza East
Brooklyn, New York 11201

                         Re:      90 West Street LLC., 18-40515 (NHL) (the “Debtor”)

Dear Judge Lord:

         I am writing with regard to the hearing on bid procedures that was held yesterday, and the
proposed order (the “Bid Procedures Order”) that has been circulated in connection with the motion. As
discussed at yesterday’s hearing, the United States Trustee has concerns primarily related to jurisdiction
of this Court to issue an order that affects and encompasses the assets of non-debtor entities. For the
reasons outlined below, the United States Trustee is not in a position to negotiate the terms of the Bid
Procedure Order because it seeks the imprimatur of this Court with regard to bid procedures and sale
affecting non-debtor property which is beyond the jurisdiction of the Bankruptcy Court.

          Specifically, the Proposed Bid Procedures Order relates to the sale of the real property owned
by 90 West Street LLC (the “Debtor”), as well as the non-debtor assets of Woodbriar Health Center
LLC and Grosvenor Park Health Center LLC. While the Bankruptcy Code and other relevant federal
statutes provide the Court with the authority to issue orders affecting property of the Debtor’s estate, this
authority simply does not extend to non-debtor assets.

         In addition, there are other concerns with regard to the Bid Procedures Order, including the fact
that the Break-Up Fee is an ever-changing number that would make it difficult, if not impossible for
prospective bidders to know how much to bid in order become a qualified bidder. Also, providing the
Stalking Horse with the ability to bid $1,000 more than the highest bidder in order to be the successful
bidder would, no doubt, have a chilling effect on the bidding process.

         In light of fact that this bankruptcy case involves a two-party dispute that has been consensually
resolved between the Debtor and its lender, it appears that the best way to proceed may be to dismiss
this case. The parties would then be free to sell the properties under agreed upon terms without the
constraint of the Bankruptcy Court.

        Thank you for your courtesies.
                                                               Very truly yours,

                                                               WILLIAM K. HARRINGTON
                                                               UNITED STATES TRUSTEE
                                                               REGION 2
                                                               By:Marylou Martin
                                                               Marylou Martin
                                                               Trial Attorney
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